                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: David Arcuri &                 .              CASE NO: 19-12485
       ​Sherry Arcuri

               Debtor(s)                             CHAPTER 13

                                                     JUDGE HARRIS


                               AMENDMENT COVER SHEET

       Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are
transmitted herewith:

   1. Summary of assets and liabilities.

   2. Schedule J to update living expenses to update disposable income.

   3. Form 122-C to recalculate disposable to make corrections suggested by the Chapter 13
      Trustee in her objection to plan as well as other errors, and to increase the priority
      unsecured debt to conform with the 2018 State tax returns and the Amended Proof of
      Claim filed by the IRS..

                                                     Respectfully submitted,

                                                     BALENA LAW FIRM LLC

                                                     /s/ William J. Balena
                                                     _______________________________
                                                     William J. Balena, MEMBER (0019641)
                                                     Attorney for Debtor(s)
                                                     30400 Detroit Road, Suite 106
                                                     Westlake, OH 44145
                                                     (440) 365-2000
                                                     (866) 936-6113- Fax
                                                     docket@ohbksource.com




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                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE: David Arcuri &                .               CASE NO: 19-12485
       ​Sherry Arcuri

               Debtor(s)                             CHAPTER 13

                                                     JUDGE HARRIS


                                         CERTIFICATION



       Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the

filing of the amendment(s) listed above has been given this date in the manner stated to any and

all entities affected by the amendment as follows:

Via ECF:

Lauren Helbling, Ch. 13 Trustee (via-ecf at ch13trustee@ch13cleve.com)

William J. Balena (via-ecf at ​docket@​ohbksource​.com​)

Via Regular Mail:

David and Sherry Arcuri, 139 Union Street, Wellington, OH 44090




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Date: July 17, 2019                          Respectfully submitted,

                                             BALENA LAW FIRM LLC

                                             /s/ William J. Balena
                                             _______________________________
                                             William J. Balena, MEMBER (0019641)
                                             Attorney for Debtor(s)




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 Fill in this information to identify your case:

 Debtor 1
                     David Charles Arcuri
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Sherry Lynn Arcuri
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Ohio District of __________
                                                                                                (State)
 Case number           19-12485
                     ___________________________________________                                                                                                          ✔ Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 99,820.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 92,922.65
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 192,742.65
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 62,261.35
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 19,738.45
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 152,579.48
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 234,579.28
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,654.03
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 3,835.42
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2

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                   David Charles Arcuri                                                                                 19-12485
Debtor 1           _______________________________________________________                       Case number (if known)_____________________________________
                   First Name   Middle Name        Last Name




Pa rt 4 :        Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     ✔
           Yes


7. What kind of debt do you have?

    ✔
           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          8,293.81
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                          Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                          0.00
    9a. Domestic support obligations (Copy line 6a.)                                                      $_____________________


                                                                                                                   19,738.45
                                                                                                          $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                          0.00
                                                                                                          $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                 137,064.00
                                                                                                          $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                           0.00
                                                                                                          $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                          0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                           156,802.45
                                                                                                          $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2

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  Fill in this information to identify your case:

                     David Charles Arcuri
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
                      Sherry Lynn Arcuri                                                                       ✔ An amended filing
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name

                                          Northern District of Ohio
                                                                                                                  A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________    District of __________                        expenses as of the following date:
                                                                                      (State)
                       19-12485                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   ✔ Yes. Does Debtor 2 live in a separate household?
          ✔ No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                         Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  ✔ Yes. Fill out this information for          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
                                                                                            Daughter                                 17                No
   Do not state the dependents’                                                            _________________________                ________
   names.                                                                                                                                         ✔ Yes

                                                                                           _________________________                ________           No
                                                                                                                                                       Yes

                                                                                           _________________________                ________           No
                                                                                                                                                       Yes

                                                                                           _________________________                ________           No
                                                                                                                                                       Yes

                                                                                           _________________________                ________           No
                                                                                                                                                       Yes

3. Do your expenses include
                                                No
   expenses of people other than
   yourself and your dependents?                Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       150.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       150.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   150.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1

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                    David Charles Arcuri                                                                             19-12485
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                  5.
                                                                                                                                        0.00
                                                                                                                       $_____________________


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.                  287.00
                                                                                                                       $_____________________
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      84.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     256.09
        6d.   Other. Specify: _______________________________________________                                   6d.                     0.00
                                                                                                                       $_____________________

 7. Food and housekeeping supplies                                                                              7.                   900.00
                                                                                                                       $_____________________

 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                      50.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     248.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     127.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     140.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                     480.00
                                                                                                                       $_____________________
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                  100.00
                                                                                                                       $_____________________
14.     Charitable contributions and religious donations                                                        14.                  108.33
                                                                                                                       $_____________________
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.                    0.00
                                                                                                                       $_____________________
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     300.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  RITA
        Specify: ________________________________________________________                                       16.
                                                                                                                                      80.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.                    0.00
                                                                                                                       $_____________________

        17b. Car payments for Vehicle 2                                                                         17b.                    0.00
                                                                                                                       $_____________________
                              Additional Car Payments
        17c. Other. Specify:_______________________________________________                                     17c.                    0.00
                                                                                                                       $_____________________

        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.                    0.00
                                                                                                                       $_____________________

        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.                    0.00
                                                                                                                       $_____________________

        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2

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                   David Charles Arcuri                                                                                 19-12485
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.                     Pet food & supplies
        Other. Specify:______________________________________________________________________
                                                                                                                   21.                  125.00
                                                                                                                         +$_____________________
emergency reserve
______________________________________________________________________________________                                                  100.00
                                                                                                                         +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 3,835.42
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 3,835.42
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,654.03
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 3,835.42
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  1,818.61
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
          Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3

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Fill in this information to identify your case:

Debtor 1           David Charles Arcuri
                  __________________________________________________________________
                    First Name                Middle Name             Last Name

Debtor 2           Sherry  Lynn Arcuri
                   ________________________________________________________________
(Spouse, if filing) First Name                Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Ohio District of __________
                                                                                  (State)
Case number         19-12485
                    ___________________________________________
(If known)
                                                                                                                                          ■
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        ✔    No
             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




           /s/ David Charles Arcuri
          ______________________________________________                  /s/ Sherry Lynn Arcuri
                                                                         _____________________________
         Signature of Debtor 1                                           Signature of Debtor 2


              07/16/2019
         Date _________________                                                07/16/2019
                                                                         Date _________________
                MM /    DD       /   YYYY                                         MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules

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  Fill in this information to identify your case:                                                                 Check as directed in lines 17 and 21:
                                                                                                                  According to the calculations required by
  Debtor 1           David Charles Arcuri
                    __________________________________________________________________                            this Statement:
                      First Name             Middle Name               Last Name

  Debtor 2            Sherry  Lynn Arcuri
                      ________________________________________________________________                                 1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name               Last Name                                          under 11 U.S.C. § 1325(b)(3).

                                          ______________________
  United States Bankruptcy Court for the: Northern District of Ohio District of __________                        ✔    2. Disposable income is determined
                                                                                                                          under 11 U.S.C. § 1325(b)(3).
  Case number         19-12485
                      ___________________________________________
   (If known)                                                                                                          3. The commitment period is 3 years.
                                                                                                                  ✔    4. The commitment period is 5 years.

                                                                                                                  ✔ Check if this is an amended filing

 Official Form 122C–1
 Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
 a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :        Ca lc ula t e Y our Ave ra ge M ont hly I nc om e

1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
    ✔    Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                    Column A               Column B
                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                           non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                 3,190.31
                                                                                                       $____________           5,103.50
                                                                                                                              $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if
   Column B is filled in.                                                                               0.00
                                                                                                       $____________           0.00
                                                                                                                              $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled
   in. Do not include payments you listed on line 3.                                                    0.00
                                                                                                       $___________            0.00
                                                                                                                              $__________


5. Net income from operating a business, profession, or              Debtor 1        Debtor 2
   farm
   Gross receipts (before all deductions)                            $______
                                                                      0.00           $______
                                                                                      0.00

   Ordinary and necessary operating expenses                     –$______
                                                                   0.00            – $______
                                                                                      0.00
                                                                                                Copy
   Net monthly income from a business, profession, or farm
                                                                     $______
                                                                      0.00           $______
                                                                                      0.00   here          0.00
                                                                                                          $_________           0.00
                                                                                                                              $_________

6. Net income from rental and other real property                    Debtor 1      Debtor 2

   Gross receipts (before all deductions)                            $______
                                                                      0.00           $______
                                                                                      0.00

   Ordinary and necessary operating expenses                    – $______
                                                                    0.00            – $______
                                                                                       0.00
                                                                                                Copy
   Net monthly income from rental or other real property             $______
                                                                       0.00          $______
                                                                                      0.00   here          0.00
                                                                                                          $_________          0.00
                                                                                                                             $__________


Official Form 122C–1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 1

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 Debtor 1           David Charles Arcuri
                    _______________________________________________________                                                                                            19-12485
                                                                                                                                                Case number (if known)_____________________________________
                     First Name           Middle Name                  Last Name



                                                                                                                                            Column A                              Column B
                                                                                                                                             Debtor 1                             Debtor 2 or
                                                                                                                                                                                  non-filing spouse

7. Interest, dividends, and royalties                                                                                                          0.00
                                                                                                                                              $____________                            0.00
                                                                                                                                                                                      $__________

8. Unemployment compensation                                                                                                                   0.00
                                                                                                                                              $____________                            0.00
                                                                                                                                                                                      $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ...................................

        For you .........................................................................           0.00
                                                                                                   $_____________
        For your spouse ...........................................................                 0.00
                                                                                                   $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                     0.00
                                                                                                                                              $____________                            0.00
                                                                                                                                                                                      $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
                                                                                                                                               0.00
                                                                                                                                              $_____________                          0.00
                                                                                                                                                                                     $___________
       10a. __________________________________________________________________
                                                                                                                                               0.00
                                                                                                                                              $_____________                          0.00
                                                                                                                                                                                     $___________
       10b. __________________________________________________________________

       10c. Total amounts from separate pages, if any.                                                                                     + $____________
                                                                                                                                              0.00                               + $__________
                                                                                                                                                                                    0.00

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                         3,190.31
                                                                                                                                               $____________                +         5,103.50
                                                                                                                                                                                     $___________            =    8,293.81
                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                 monthly income




Pa rt 2 :         De t e rm ine H ow t o M e a sure Y our De duc t ions from I nc ome

12. Copy your total average monthly income from line 11. ......................................................................................................................                                 8,293.81
                                                                                                                                                                                                              $_____________
13. Calculate the marital adjustment. Check one:

          You are not married. Fill in 0 in line 13d.
     ✔    You are married and your spouse is filing with you. Fill in 0 in line 13d.
          You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
          or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
          your dependents.
          In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
          necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
          13a. _______________________________________________________________________                                                             $___________
          13b. _______________________________________________________________________                                                             $___________
          13c. _______________________________________________________________________                                                         + $___________
          13d. Total .................................................................................................................              0.00
                                                                                                                                                   $___________                Copy here.            13d.   ─____________
                                                                                                                                                                                                              0.00

14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                     14.        8,293.81
                                                                                                                                                                                                              $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                ......................................................................................................................................................... 15a.         8,293.81
                                                                                                                                                                                                             $ ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                        x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                       15b.
                                                                                                                                                                                                              99,525.72
                                                                                                                                                                                                             $___________


 Official Form 122C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                   page 2

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 Debtor 1           David Charles Arcuri
                    _______________________________________________________                                                                                      19-12485
                                                                                                                                          Case number (if known)_____________________________________
                     First Name           Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                   OH
                                                                                              _________

     16b. Fill in the number of people in your household.                                         3
                                                                                              _________


     16c. Fill in the median family income for your state and size of household. ............................................................................. 16c.                                       74,969.00
                                                                                                                                                                                                         $___________
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.         Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                  11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.   ✔ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                  11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                  On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :            Ca lc ula t e Y our Com m it m e nt Pe riod U nde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ...................................................................................................................... 18.
                                                                                                                                                                                                           8,293.81
                                                                                                                                                                                                         $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                        19a.    ─    0.00
                                                                                                                                                                                                         $__________

     Subtract line 19a from line 18.
                                                                                                                                                                                              19b.
                                                                                                                                                                                                          8,293.81
                                                                                                                                                                                                         $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ................................................................................................................................................................... 20a.        8,293.81
                                                                                                                                                                                                         $___________

             Multiply by 12 (the number of months in a year).                                                                                                                                        x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                 20b.          99,525.72
                                                                                                                                                                                                         $___________


     20c. Copy the median family income for your state and size of household from line 16c. ..........................................................
                                                                                                                                                                                                           74,969.00
                                                                                                                                                                                                         $___________

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
     ✔    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
          check box 4, The commitment period is 5 years. Go to Part 4.


 Pa rt 4 :         Sign Be low

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

               /s/ David Charles Arcuri                                                                                /s/ Sherry Lynn Arcuri
              ___________________________________________________                                                      ____________________________________
             Signature of Debtor 1                                                                                     Signature of Debtor 2


                      07/16/2019                                                                                                07/16/2019
             Date _________________                                                                                    Date _________________
                     MM / DD         / YYYY                                                                                    MM / DD         / YYYY



        If you checked 17a, do NOT fill out or file Form 122C–2.
        If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




 Official Form 122C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                            page 3

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